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16
                               UNITED STATES DISTRICT COURT

17                                     DISTRICT OF NEVADA

18   NAVAJO HEALTH FOUNDATION – SAGE
     MEMORIAL HOSPITAL, INC. (doing
19   business as “Sage Memorial Hospital”); an
20   Arizona non-profit corporation,

21                               Plaintiff,          Case No. 2:19-cv-0329-GMN-EJY
22          vs.
23                                                   JOINT STIPULATION TO EXTEND
     RAZAGHI DEVELOPMENT COMPANY,                    PLAINTIFF’S TIME TO RESPOND TO
24   LLC; a Nevada limited liability company         DEFENDANTS’ MOTION TO DISMISS
     (doing business as “Razaghi Healthcare”),
25   AHMAD R. RAZAGHI; individually, TAUSIF (THIRD REQUEST)
26   HASAN; individually, DOES 1-10;

27                              Defendants.
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 1           Pursuant to Federal Rule of Civil Procedure 6 and the Court’s Local Rule of Civil
 2   Practice 7-1, the parties hereby stipulate, subject to the Court’s approval, to permit Plaintiff
 3   additional time, to and until November 9, 2021, to respond to Defendant’s motion to dismiss
 4   which was previously filed on August 23, 2021 (ECF No. 147). Presently, Plaintiff’s response
 5   is due today, November 8, 2021. This is Plaintiff’s third request for an extension of time for the
 6   reasons cited herein.
 7           In support of this Stipulation, the parties agree to the following:
 8           1. Good cause exists to support this request for additional time. Plaintiff’s counsel
 9   represent they have been working diligently on a response to the pending dispositive motion
10   and have substantially completed it but need one additional day to obtain full review of the
11   document before it is filed with the Court. An additional day will provide counsel for Plaintiff
12   sufficient time to coordinate the appropriate review and file the response tomorrow. Currently,
13   both David Stander, Esq. and Douglass Mitchell, Esq. are on the east coast. Kathleen Bliss,
14   Esq. was required to travel out of town this morning to the east coast for a work-related matter

15   and will also need to review the document before it is filed. Paul S. Padda, Esq. was busy

16   attending a full-day mediation in another federal civil case. Given these competing schedules

17   and the different time zones involved, one additional day will provide ample time to file the

18   brief after it is fully reviewed and approved by Plaintiff’s counsel.

19           2. Counsel for the respective parties have communicated regarding this Stipulation and

20   agree that an extension of time to and until November 9, 2021 is appropriate under the

21   circumstances. The parties further agree that Defendants shall have 30-days following

22   Plaintiff’s filing of a response within which time to file a reply.

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 1         The parties respectfully request the Court approve this Stipulation.
 2
 3   /s/ Kris Leonhardt                                         /s/ Paul S. Padda
     _________________________                                  _________________________
 4   Pavneet S. Uppal, Esq.                                     Kathleen Bliss, Esq.
     Kris Leonhardt, Esq.                                       Paul S. Padda, Esq.
 5
     Brian L. Bradford, Esq                                     David Stander, Esq.
 6   Counsel for all named Defendants                           Douglass A. Mitchell, Esq.
                                                                Counsel for Plaintiff
 7
 8   Dated: November 8, 2021                                    Dated: November 8, 2021

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                                                       IT IS SO ORDERED nunc pro tunc.
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14                                                     Dated this ____
                                                                    9 day of November, 2021

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                                                       ___________________________
17                                                     Gloria M. Navarro, District Judge
                                                       UNITED STATES DISTRICT COURT
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